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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF TENNESSEE


WALTER NELSON                                     )
                                                  )
v.                                                )
                                                  )
NATIONAL FIRE INSURANCE                           ) No.: 2:12-CV-02428-DKV
COMPANY OF PITTSBURGH, PA,                        ) MAGISTRATE DIANE K. VESCOVO
CHARTIS, INC. U.S., AMERICAN                      ) JURY DEMAND
INTERNATIONAL GROUP, INC. d/b/a                   )
AIG LOTSOLUTIONS, and SUNTRUST                    )
BANK

               AGREED FINAL ORDER OF DISMISSAL WITH PREJUDICE

         On November 13, 2012, (CM/ECF Doc. 20), Plaintiff Walter Nelson (“Mr. Nelson”) and

Defendants National Fire Insurance Company of Pittsburgh, PA, Chartis, U.S., Inc., American

International Group, Inc., LOTSolutions, Inc., and SunTrust Bank (“Defendants”) filed a

stipulation of dismissal with prejudice and all of Mr. Nelson’s claims against Defendants have

been dismissed with prejudice. In view of that, they have filed this agreed final order of

dismissal.

         THEREFORE, Mr. Nelson’s claims against Defendants are DISMISSED with prejudice

and the Clerk is directed to close this case against Defendants on the records with this Court.

         This Order shall constitute a final judgment on the case against Defendants.

         It is so ORDERED this 13th day of November, 2012.



                                               s/Diane K. Vescovo
                                              DIANE K. VESCOVO
                                              UNITED STATES MAGISTRATE JUDGE
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